Case 2:05-cr-20085-.]DB Document 7 Filed 06/09/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DISTRICT COURT
FOR THE wESTERN DISTRICT eF TENNESSEE 35 rU;,_;_g
wESTERN DIVISION `“ M’HU; 35

UNITED STATES OF AMERICA, *

 

;(.

Plaintiff,
v. * Cr. NO. 05-20085-B

TAMARKI SHARKEY,

Defendent. *

 

ORDER

 

IT IS HEREBY ORDERED THAT:

THE Sentencing Date § IS or IS NOT continued and a new

hearing date is Set; for the w day Of 3'1|4@£: , 2005 at 539

a_m@ § F_

THUS ORDERED THIS g day Of |uVuL_ , 2005.

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IT D STATES DISTRICT COURT JUDGE

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Honorable J. Breen
US DISTRICT COURT

